      Case 3:15-cv-00595-BAS-MDD Document 48 Filed 07/06/15 PageID.470 Page 1 of 36




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18                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF CALIFORNIA
19
20   OBESITY RESEARCH INSTITUTE, LLC,           Case No. 15-cv-595-BAS-MDD
21        Plaintiff & Counterclaim-             FIBER RESEARCH’S OPPOSITION
22        Defendant,                            TO OBESITY RESEARCH’S
                                                MOTION TO DISMISS FIRST
23                    v.                        AMENDED COUNTERCLAIMS
24
     FIBER RESEARCH INTERNATIONAL,              Judge:          Hon. Cynthia Bashant
25   LLC,                                       Hearing Date:   July 20, 2015
26                                              NO ORAL ARGUMENT UNLESS
          Defendant & Counterclaim-
27        Plaintiff.                            REQUESTED BY COURT
28

        Obesity Research Inst., LLC v. Fiber Research Int’l, LLC, No. 15-cv-595-BAS-MDD
        OPPOSITION TO MOTION TO DISMISS FIRST AMENDED COUNTERCLAIMS
       Case 3:15-cv-00595-BAS-MDD Document 48 Filed 07/06/15 PageID.471 Page 2 of 36




 1                                                  TABLE OF CONTENTS
 2   TABLE OF AUTHORITIES ................................................................................................. iii
 3
     INTRODUCTION.................................................................................................................... 1
 4
 5   ARGUMENTS ......................................................................................................................... 3
 6
              I.       STANDARD ON MOTION TO DISMISS ........................................................ 3
 7
 8            II.      FIBER RESEARCH HAS STANDING ............................................................. 4
 9
                       A.       Fiber Research Has Standing Under the Lanham Act .............................. 4
10
11                              1.        Fiber Research Has Adequately Alleged Lost Sales ...................... 5

12                              2.        Fiber Research Has Adequately Alleged Lost Market
13                                        Share, Reputational Harm, and Lost Goodwill............................... 6

14                     B.       Fiber Research Has Standing Under the UCL and FAL........................... 9
15
              III.     THE FAC STATES A CLAIM FOR RELIEF UNDER THE
16
                       LANHAM ACT................................................................................................. 10
17
                       A.       The FAC States a Claim for False Designation of Origin ...................... 10
18
19                              1.        The FAC Sufficiently Pleads Likelihood of Confusion ............... 11
20
                                2.        The FAC Sufficiently Pleads Use of the Propol
21                                        Trademark in United States Commerce........................................ 14
22
                                3.        Obesity Research’s Use of the Propol Trademark is Not a
23                                        Requirement of a False Designation of Origin Claim .................. 15
24
                                4.        The FAC Alleges Notice of Registration of the Propol
25
                                          Trademark to Obesity Research, Even Though it was not
26                                        Required ........................................................................................ 16
27
                       B.       The FAC States a Claim for False Advertising ...................................... 16
28
                                                   i
          Obesity Research Inst., LLC v. Fiber Research Int’l, LLC, No. 15-cv-595-BAS-MDD
          OPPOSITION TO MOTION TO DISMISS FIRST AMENDED COUNTERCLAIMS
       Case 3:15-cv-00595-BAS-MDD Document 48 Filed 07/06/15 PageID.472 Page 3 of 36




 1                              1.       The FAC Sufficiently Alleges Lipozene’s Advertising is
                                         False and Misleading .................................................................... 16
 2
 3                              2.       Fiber Research Has Alleged Injury in the Form of Lost
 4                                       Sales, Lost Market Share, Reputational Harm, and Lost
                                         Goodwill ....................................................................................... 17
 5
 6            IV.      THE FAC STATES A CLAIM FOR UNFAIR COMPETITION
                       UNDER THE UCL............................................................................................ 17
 7
 8            V.       THE FAC MEETS THE HEIGHTENED PLEADING
                       REQUIREMENTS OF RULE 9(b) ................................................................... 19
 9
10            VI.      OBESITY RESEARCH’S LACHES ARGUMENT IS PREMATURE .......... 22
11
     CONCLUSION ...................................................................................................................... 25
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                   ii
          Obesity Research Inst., LLC v. Fiber Research Int’l, LLC, No. 15-cv-595-BAS-MDD
          OPPOSITION TO MOTION TO DISMISS FIRST AMENDED COUNTERCLAIMS
       Case 3:15-cv-00595-BAS-MDD Document 48 Filed 07/06/15 PageID.473 Page 4 of 36




 1                                               TABLE OF AUTHORITIES
 2   Cases
 3
     24/7 Customer, Inc. v. 24-7 Intouch,
 4      2015 WL 1522236 (N.D. Cal. Mar. 31, 2015)............................................................ 22, 24
 5
     Allergan, Inc. v. Athena Cosmetics, Inc.,
 6      640 F.3d 1377 (Fed. Cir. 2011)......................................................................................... 10
 7
     AMF Inc. v. Sleekcraft Boats,
 8     599 F.2d 341 (9th Cir. 1979) ......................................................................................12, 14
 9
     AngioScore, Inc. v. TriReme Med., LLC,
10     2014 WL 4438082 (N.D. Cal. Sept. 9, 2014) ................................................................... 10
11
     Animal Leg. Def. Fund v. HVFG LLC,
12      939 F. Supp. 2d 992 (N.D. Cal. 2013) ................................................................................ 4
13
     Ariz. Cartridge Remanufacturers Ass’n, Inc. v. Lexmark Intern., Inc.,
14      421 F.3d 981 (9th Cir. 2005) ............................................................................................ 19
15
     Ashcroft v. Iqbal,
16      556 U.S. 662 (2009) ........................................................................................................ 3, 4
17
     Aurora World, Inc. v. Ty Inc.,
18     719 F. Supp. 2d 1115 (C.D. Cal. 2009) ............................................................................ 14
19
     Baxter v. Intelius, Inc.,
20     2010 WL 3791487 (C.D. Cal. Sept. 16, 2010) ................................................................... 3
21
     Bell Atl. Corp. v. Twombly,
22      550 U.S. 544 (2007) ............................................................................................................ 3
23
     Belmora LLC v. Bayer Consumer Care AG,
24      2015 WL 518571 (E.D. Va. Feb. 6, 2015).......................................................................... 7
25
     Brookfield Commun., Inc. v. W. Coast Ent. Corp.,
26      174 F.3d 1036 (9th Cir. 1999) ....................................................................................13, 14
27
28
                                                   iii
          Obesity Research Inst., LLC v. Fiber Research Int’l, LLC, No. 15-cv-595-BAS-MDD
          OPPOSITION TO MOTION TO DISMISS FIRST AMENDED COUNTERCLAIMS
       Case 3:15-cv-00595-BAS-MDD Document 48 Filed 07/06/15 PageID.474 Page 5 of 36




 1   Buckland v. Threshold Enters.,
       155 Cal. App. 4th 798 (2007) ............................................................................................. 9
 2
 3   Bylin Heating Sys., Inc. v. M & M Gutters, LLC,
        2007 WL 3238668 (E.D. Cal. Oct. 31, 2007) ................................................................... 14
 4
 5   Cafasso, U.S. ex rel. v. Gen. Dynamics C4 Sys., Inc.,
       637 F.3d 1047 (9th Cir. 2011) ............................................................................................ 4
 6
 7   Camel Hair and Cashmere Inst. of Am. v. Associated Dry Goods Corp.,
       799 F.2d 6 (1st Cir. 1986) ................................................................................................... 8
 8
 9   Celebrity Chefs Tour, LLC v. Macy’s, Inc.,
        16 F. Supp. 3d 1141 (S.D. Cal. 2014) ......................................................................... 12, 14
10
11   Cel-Tech Communications, Inc. v. L.A. Cellular Tel. Co.,
        20 Cal. 4th 163 (1999) ...................................................................................................... 18
12
13   Citizens of Humanity v. Costco Wholesale Corp.,
        171 Cal. App. 4th 1 (2009) ................................................................................................. 9
14
15   Clayworth v. Pfizer, Inc.,
        233 P.3d 1066 (Cal. 2010) .................................................................................................. 9
16
17   D. O. Haynes & Co. v. Druggists’ Circular,
        32 F.2d 215 (2d Cir. 1929)................................................................................................ 22
18
19   Danjaq LLC v. Sony Corp.,
       263 F.3d 942 (9th Cir. 2001) ......................................................................................24, 25
20
21   DC Comics v. Towle,
       989 F. Supp. 2d 948 (C.D. Cal. 2013) .............................................................................. 25
22
23   Decker v. GlenFed, Inc.,
       42 F.3d 1541 (9th Cir.1994) ............................................................................................. 19
24
25   Dirk Ter Haar v. Seaboard Oil Co. of Delaware,
        1 F.R.D. 598 (S.D. Cal. 1940) .......................................................................................... 22
26
27   Dreamwerks Prod. Group v. SKG Studio,
       142 F.3d 1127 (9th Cir.1998) ........................................................................................... 13
28
                                                   iv
          Obesity Research Inst., LLC v. Fiber Research Int’l, LLC, No. 15-cv-595-BAS-MDD
          OPPOSITION TO MOTION TO DISMISS FIRST AMENDED COUNTERCLAIMS
       Case 3:15-cv-00595-BAS-MDD Document 48 Filed 07/06/15 PageID.475 Page 6 of 36




 1   E. & J. Gallo Winery v. Gallo Cattle Co.,
        967 F.2d 1280 (9th Cir. 1992) .......................................................................................... 13
 2
 3   Entrepreneur Media, Inc. v. Smith,
        279 F.3d 1135 (9th Cir. 2002) .......................................................................................... 13
 4
 5   Evergreen Safety Council v. RSA Network, Inc.,
        697 F.3d 1221 (9th Cir.2012) ........................................................................................... 25
 6
 7   Fitzpatrick v. Fitzpatrick,
        2014 WL 2197610 (E.D. Cal. May 27, 2014) .................................................................. 23
 8
 9   Fleischmann Distilling Corp. v. Maier Brewing Co.,
        314 F.2d 149 (9th Cir.1963) ............................................................................................. 13
10
11   Fortune Dynamic, Inc. v. Victoria’s Secret Stores Brand Mgt., Inc.,
       618 F.3d 1025 (9th Cir. 2010) .......................................................................................... 14
12
13   Goldberg v. Cameron,
       482 F. Supp. 2d 1136 (N.D. Cal. 2007) ............................................................................ 25
14
15   Grocery Outlet, Inc. v. Albertson's, Inc.,
       497 F.3d 949 (9th Cir.2007) ............................................................................................. 16
16
17   Hanginout, Inc. v. Google, Inc.,
       54 F. Supp. 3d 1109 (S.D. Cal. 2014) ............................................................................... 16
18
19   Herb Reed Enters., LLC v. Fla. Entm't Mgmt., Inc.,
       736 F.3d 1239 (9th Cir.2013) ........................................................................................... 16
20
21   In re Cathode Ray Tube (CRT) Antitrust Litig.,
        2014 WL 1091589 (N.D. Cal. Mar. 13, 2014).................................................................. 22
22
23   In re Clorox Consumer Litig.,
         894 F. Supp. 2d 1224 (N.D. Cal. 2012) ............................................................................ 20
24
25   In re Sand Hill Capital Partners III, LLC,
        2010 WL 4269622 (Bankr. N.D. Cal. Oct. 25, 2010)....................................................... 25
26
27   In re Sony Gaming Networks and Customer Data Sec. Breach Litig.,
         903 F. Supp. 2d 942 (S.D. Cal. 2012) ........................................................................... 9, 10
28
                                                  v
         Obesity Research Inst., LLC v. Fiber Research Int’l, LLC, No. 15-cv-595-BAS-MDD
         OPPOSITION TO MOTION TO DISMISS FIRST AMENDED COUNTERCLAIMS
       Case 3:15-cv-00595-BAS-MDD Document 48 Filed 07/06/15 PageID.476 Page 7 of 36




 1   In re Vistaprint Corp Mktg. & Sales Practices Litig.,
         2009 WL 2884727 (S.D. Tex. Aug. 31, 2009) ................................................................... 3
 2
 3   Italia Marittima, S.P.A. v. Seaside Transp. Servs., LLC,
         2010 WL 3504834 (N.D. Cal. Sept. 7, 2010) ............................................................. 23, 24
 4
 5   Johnson & Johnson v. Carter–Wallace, Inc.,
        631 F.2d 186 (2d Cir.1980)................................................................................................. 8
 6
 7   Kearns v. Ford Motor Co.,
       567 F.3d 1120 (9th Cir.2009) ........................................................................................... 21
 8
 9   Keegan v. Am. Honda Motor Co., Inc.,
       838 F. Supp. 2d 929 (C.D. Cal. 2012) .............................................................................. 21
10
11   Ketab Corp. v. Mesriani L. Group,
        2015 WL 2409351 (C.D. Cal. May 20, 2015) .................................................................. 12
12
13   King v. Los Angeles Co. Fair Ass’n,
        70 Cal.App.2d 592 (1945) ................................................................................................ 23
14
15   Kourtis v. Cameron,
       419 F.3d 989 (9th Cir.2005) .......................................................................................22, 24
16
17   Kwikset Corp. v. Super. Ct.,
       246 P.3d 877 (Cal. 2011) .............................................................................................. 9, 10
18
19   Kythera Biopharmaceuticals, Inc. v. Lithera, Inc.,
        998 F. Supp. 2d 890 (C.D. Cal. 2014) .............................................................................. 14
20
21   Lacey v. Maricopa County,
        693 F.3d 896 (9th Cir.2012) ............................................................................................... 4
22
23   Levi Strauss & Co. v. Blue Bell, Inc.,
        778 F.2d 1352 (9th Cir.1985) ........................................................................................... 12
24
25   Lexmark Intern., Inc. v. Static Control Components, Inc.,
        134 S. Ct. 1377 (2014) ........................................................................................................ 4
26
27   Lormand v. US Unwired, Inc.,
        565 F.3d 228 (5th Cir. 2009) .............................................................................................. 3
28
                                                   vi
          Obesity Research Inst., LLC v. Fiber Research Int’l, LLC, No. 15-cv-595-BAS-MDD
          OPPOSITION TO MOTION TO DISMISS FIRST AMENDED COUNTERCLAIMS
       Case 3:15-cv-00595-BAS-MDD Document 48 Filed 07/06/15 PageID.477 Page 8 of 36




 1   Luxul Tech. Inc. v. Nectarlux, LLC,
        2015 WL 352048 (N.D. Cal. Jan. 26, 2015) ..............................................................passim
 2
 3   Mabey v. Reagan,
       376 F. Supp. 216 (N.D. Cal. 1974) ................................................................................... 22
 4
 5   Magic Kitchen LLC v. Good Things Intern. Ltd.,
       153 Cal. App. 4th 1144 (2007) ......................................................................................... 24
 6
 7   McKell v. Wash. Mut. Inc.,
       142 Cal. App. 4th 1457 (2006) ......................................................................................... 19
 8
 9   Merck Eprova AG v. Brookstone Pharm., LLC,
       920 F. Supp. 2d 404 (S.D.N.Y. 2013) ................................................................................ 8
10
11   Mishewal Wappo Tribe of Alexander Valley v. Salazar,
       2011 WL 5038356 (N.D. Cal. Oct. 24, 2011) ............................................................ 23, 24
12
13   Murray v. Cable Nat'l Broad. Co.,
       86 F.3d 858 (9th Cir.1996) ............................................................................................... 12
14
15   Planet Coffee Roasters, Inc. v. Dam,
        2009 WL 2486457 (C.D. Cal. Aug. 12, 2009).................................................................. 15
16
17   Pollard v. GEO Grp., Inc.,
        607 F.3d 583 (9th Cir. 2010) .............................................................................................. 3
18
19   Pom Wonderful LLC v. Ocean Spray Cranberries, Inc.,
       642 F.Supp.2d 1112 (C.D.Cal.2009) ................................................................................ 20
20
21   Robbins v. Coca-Cola-Co.,
       2013 WL 2252646 (S.D. Cal. May 22, 2013)................................................................. 4, 6
22
23   Rosenfeld v. W.B. Saunders, a Div. of Harcourt Brace Jovanovich, Inc.,
       728 F. Supp. 236 (S.D.N.Y. 1990) ..................................................................................... 5
24
25   Schreiber Distrib. Co. v. Serv–Well Furniture Co.,
        806 F.2d 1393 (9th Cir.1986) ........................................................................................... 19
26
27   Sensible Foods, LLC v. World Gourmet, Inc.,
        2011 WL 5244716 (N.D. Cal. Nov. 3, 2011) ................................................................... 24
28
                                                 vii
         Obesity Research Inst., LLC v. Fiber Research Int’l, LLC, No. 15-cv-595-BAS-MDD
         OPPOSITION TO MOTION TO DISMISS FIRST AMENDED COUNTERCLAIMS
       Case 3:15-cv-00595-BAS-MDD Document 48 Filed 07/06/15 PageID.478 Page 9 of 36




 1   Southern Pac. Co. v. Darnell–Taenzer Co.,
        245 U.S. 531 (1918) ............................................................................................................ 9
 2
 3   Spearmint Rhino Companies Worldwide, Inc. v. Chiappa Firearms, Ltd.,
        2012 WL 8962882 (C.D. Cal. Jan. 20, 2012) ................................................................... 11
 4
 5   Teran v. Hagopian,
        2008 WL 4826124 (E.D. Cal. Nov. 5, 2008) .................................................................... 25
 6
 7   Toho Co. Ltd. v. Sears, Roebuck & Co.,
       645 F.2d 788 (9th Cir.1981) ............................................................................................. 12
 8
 9   TrafficSchool.com, Inc. v. Edriver Inc.,
        653 F.3d 820 (9th Cir. 2011) .............................................................................................. 4
10
11   Vess v. Ciba–Geigy Corp. USA,
        317 F.3d 1097 (9th Cir. 2003) .......................................................................................... 19
12
13   Von Koenig v. Snapple Bev. Corp.,
       713 F. Supp. 2d 1066 (E.D. Cal. 2010) ...................................................................... 19, 21
14
15   Wahoo Intern., Inc. v. Phix Dr., Inc.,
       2014 WL 2864343 (S.D. Cal. June 24, 2014)............................................................. 12, 14
16
17   Walling v. Beverly Enters.,
       476 F.2d 393 (9th Cir. 1973) ............................................................................................ 21
18
19
     Statutes
20
21   14 U.S.C. § 1125(a)................................................................................................................ 11
22
     15 U.S.C. § 1051 .................................................................................................................... 15
23
     Fed. R. Civ. P. 12(b) .............................................................................................................. 22
24
25   Fed. R. Civ. P. 8(c) ................................................................................................................. 22
26
     Fed. R. Civ. P. 9(b) ............................................................................................................ 3, 19
27
28
                                                  viii
          Obesity Research Inst., LLC v. Fiber Research Int’l, LLC, No. 15-cv-595-BAS-MDD
          OPPOSITION TO MOTION TO DISMISS FIRST AMENDED COUNTERCLAIMS
      Case 3:15-cv-00595-BAS-MDD Document 48 Filed 07/06/15 PageID.479 Page 10 of 36




 1   Treatises
 2
     2A J. Moore, Federal Practice ¶ 9.03 (2d ed. 1972) .............................................................. 21
 3
     30A C.J.S. Equity §§ 112-13 (1965)...................................................................................... 22
 4
 5   MCCARTHY ON TRADEMARKS AND UNFAIR COMPETITION § 27:13 (Fourth Ed. .................... 15
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                  ix
         Obesity Research Inst., LLC v. Fiber Research Int’l, LLC, No. 15-cv-595-BAS-MDD
         OPPOSITION TO MOTION TO DISMISS FIRST AMENDED COUNTERCLAIMS
      Case 3:15-cv-00595-BAS-MDD Document 48 Filed 07/06/15 PageID.480 Page 11 of 36




 1                                        INTRODUCTION
 2         Glucomannan is a dietary fiber derived from Konjac, a root vegetable popular in Asia.
 3   Japanese company Shimizu Chemical Corporation spent decades developing, testing, and
 4   patenting a proprietary process for extracting from Konjac pure glucomannan, which it sells
 5   under its Propol® trademark. Propol’s efficacy as a weight loss supplement has been
 6   clinically proven through double-blind placebo-controlled studies. Shimizu entered into an
 7   exclusive sales contract with counterclaim-plaintiff Fiber Research International, LLC,
 8   giving Fiber Research the exclusive right to sell Propol in the United States.
 9         Counterclaim defendant, Obesity Research Institute, LLC, manufactures and sells
10   Lipozene, which, through its packaging, website, and television commercials, Obesity
11   Research markets as a glucomannan product “clinically proven” to aid in weight loss.
12   However, the studies on which Obesity Research relies to support its efficacy claims are
13   studies of Shimizu’s proprietary Propol glucomannan, which is not in Lipozene. Instead,
14   Lipozene contains cheap, ineffective knock-off ingredients.
15         Fiber Research, as the exclusive U.S. seller of Propol and assignee of Shimizu’s right
16   to bring legal action for damages incurred through the unlawful selling or marketing of
17   products in competition with Propol, brings claims against Obesity Research for false
18   advertising, unfair competition, and false designation of origin under the Lanham Act, 15
19   U.S.C. §§ 1125 et seq., and for violations of California’s Unfair Competition Laws, Cal. Bus.
20   & Prof. Code §§17200 et seq., and False Advertising Laws, id. §§ 17500 et seq.
21         Obesity Research moves to dismiss Fiber Research’s counter-claims, arguing that: (1)
22   Fiber Research lacks standing under the Lanham Act; (2) Fiber Research lacks standing under
23   the UCL and FAL; (3) the FAC fails to state a claim for false designation of origin; (4) the
24   FAC fails to state a claim for false advertising; (5) the FAC fails to state a claim for unfair
25   competition; (6) the FAC does not meet the pleading requirements of Rule 9(b) of the Federal
26   Rules of Civil Procedure; and (7) Fiber Research’s claims are barred by the laches doctrine.
27   Each of these arguments fails.
28
                                                 1
        Obesity Research Inst., LLC v. Fiber Research Int’l, LLC, No. 15-cv-595-BAS-MDD
        OPPOSITION TO MOTION TO DISMISS FIRST AMENDED COUNTERCLAIMS
      Case 3:15-cv-00595-BAS-MDD Document 48 Filed 07/06/15 PageID.481 Page 12 of 36




 1         First, Fiber Research has standing to assert its false designation of origin claim because
 2   the FAC alleges Fiber Research lost sales to Obesity Research. Since Obesity Research makes
 3   efficacy claims based on studies of Propol, only its purchase and use of Propol in Lipozene
 4   would render its statements true, but Obesity Research has instead avoided purchasing Propol
 5   from Shimizu, through Fiber Research, even while trading on the good will associated with
 6   the clinical studies of Propol. Further, by using the studies of Propol’s efficacy to support the
 7   efficacy claims of Obesity Research’s inferior product, Fiber Research suffered lost market
 8   share, lost goodwill, and reputational harm. (See infra Section II.A.)
 9         Second, Fiber Research has standing to pursue its UCL and FAL claims because
10   California courts have expressly rejected Obesity Research’s argument that Fiber Research
11   must prove its entitlement to restitution at the pleading stage. (See infra Section II.B.)
12         Third, because Propol and Lipozene are related products, and Fiber research has
13   alleged that Obesity Research’s advertising is likely to confuse the relevant class of
14   purchasers as to the “origin, sponsorship, or approval” of Lipozene, Obesity Research has
15   failed to show that, as a matter of law, consumer confusion is unlikely. The Court should thus
16   deny Obesity Research’s motion to dismiss Fiber Research’s false designation of origin claim
17   on this ground. (See infra Section III.A.)
18         Fourth, in arguing that the FAC fails to state a Lanham Act claim for false advertising,
19   Obesity Research improperly treats its motion as one for summary judgment, asking the Court
20   to conclude that its advertising is not false or misleading. But the FAC sufficiently pleads that
21   because Obesity Research markets Lipozene using studies conducted on Propol, without
22   actually containing Propol, its efficacy claims are false. (See infra Section III.B.)
23         Fifth, Obesity Research’s argument that the FAC uses the wrong definition of
24   “unfair”—and thus fails to state a claim for unfair competition under the UCL—wrongly
25   assumes that a holding explicitly limited to antitrust actions between direct competitors,
26   applies to this action between a supplier and manufacturer based on the manufacturer’s false
27   and misleading advertising. (See infra Section IV.)
28
                                                 2
        Obesity Research Inst., LLC v. Fiber Research Int’l, LLC, No. 15-cv-595-BAS-MDD
        OPPOSITION TO MOTION TO DISMISS FIRST AMENDED COUNTERCLAIMS
      Case 3:15-cv-00595-BAS-MDD Document 48 Filed 07/06/15 PageID.482 Page 13 of 36




 1          Sixth, the FAC easily satisfies Rule 9(b), which requires that “the circumstances
 2   constituting fraud” be “state[d] with particularity,” Fed. R. Civ. P. 9(b). Obesity research’s
 3   own memorandum outlines the detailed factual allegations concerning the time, place, and
 4   specific content of the false representations. (Mot. at 17-18.) The FAC also contains a detailed
 5   account of the challenged claims, including pictures of Lipozene’s packaging and website
 6   advertising, screen captures, transcripts of television advertisements, and a list summarizing
 7   all of Obesity Research’s false and misleading statements. The FAC similarly details what is
 8   false and misleading about these statements, why they are false and misleading, and when
 9   and to whom they were made. (See infra Section V.)
10          Lastly, Obesity Research’s laches argument asks the Court to again engage in a fact-
11   intensive inquiry of matters outside the pleadings, which is inappropriate at this stage. (See
12   infra Section VI.)
13          For the foregoing reasons and as discussed further below, Obesity Research’s motion
14   should be denied.
15                                          ARGUMENTS
16   I.     STANDARD ON MOTION TO DISMISS
17          “[A] motion to dismiss under Rule 12(b)(6) of the Federal Rules of Civil Procedure for
18   failure to state a claim is viewed with disfavor and is rarely granted.” In re Vistaprint Corp
19   Mktg. & Sales Practices Litig., 2009 WL 2884727 at *3 (S.D. Tex. Aug. 31, 2009) (citing
20   Lormand v. US Unwired, Inc., 565 F.3d 228, 232 (5th Cir. 2009)). The “complaint must be
21   liberally construed in favor of the plaintiff and all well-pleaded facts must be taken as true.”
22   Id. (citing Ashcroft v. Iqbal, 556 U.S. 662 (2009); Bell Atl. Corp. v. Twombly, 550 U.S. 544,
23   555-56 (2007)). Additionally, the court “must accept as true all factual allegations in the
24   complaint and must draw all reasonable inferences from those allegations, construing the
25   complaint in the light most favorable to the plaintiff.” Baxter v. Intelius, Inc., 2010 WL
26   3791487, at *2 (C.D. Cal. Sept. 16, 2010) (citing Pollard v. GEO Grp., Inc., 607 F.3d 583,
27   585 n.3 (9th Cir. 2010)). “‘Determining whether a complaint states a plausible claim for relief
28
                                                   3
          Obesity Research Inst., LLC v. Fiber Research Int’l, LLC, No. 15-cv-595-BAS-MDD
          OPPOSITION TO MOTION TO DISMISS FIRST AMENDED COUNTERCLAIMS
      Case 3:15-cv-00595-BAS-MDD Document 48 Filed 07/06/15 PageID.483 Page 14 of 36




 1   . . . [is] a context-specific task that requires the reviewing court to draw on its judicial
 2   experience and common sense.’” Robbins v. Coca-Cola-Co., 2013 WL 2252646, at *1 (S.D.
 3   Cal. May 22, 2013) (quoting Iqbal, 556 U.S. at 679 (2009)). “But the plausibility standard
 4   ‘does not require [courts] to flyspeck complaints looking for any gap in the facts.’” Id.
 5   (quoting Lacey v. Maricopa County, 693 F.3d 896, 924 (9th Cir.2012) (en banc)). “If ‘the
 6   complaint’s factual allegations, together with all reasonable inferences, state a plausible claim
 7   for relief,’ dismissal must be denied.” Id. (quoting Cafasso, U.S. ex rel. v. Gen. Dynamics C4
 8   Sys., Inc., 637 F.3d 1047, 1054 (9th Cir. 2011) (citing Iqbal, 556 U.S. at 677)).
 9   II.     FIBER RESEARCH HAS STANDING
10           A.    Fiber Research Has Standing Under the Lanham Act
11           A party has standing to bring a claim under the Lanham Act if it alleges “an injury to
12   a commercial interest in sales or business reputation proximately caused by the defendant’s
13   misrepresentations.” Lexmark Intern., Inc. v. Static Control Components, Inc., 134 S. Ct.
14   1377, 1395 (2014) (applying this standard to false advertising claims); see also Luxul Tech.
15   Inc. v. Nectarlux, LLC, 2015 WL 352048, at *5 (N.D. Cal. Jan. 26, 2015) (applying the
16   Lexmark standard to a false designation of origin claim). “The parties need not be direct
17   competitors in order to supply Lanham Act standing.” Animal Leg. Def. Fund v. HVFG LLC,
18   939 F. Supp. 2d 992, 1001 (N.D. Cal. 2013). Moreover, “[a] plaintiff alleging competitive
19   injury under the ‘false advertising’ prong ‘need only believe that he [or she] is likely to be
20   injured in order to bring a Lanham Act claim.’” Luxul Tech, 2015 WL 352048, at *5
21   (emphasis in original) (quoting TrafficSchool.com, Inc. v. Edriver Inc., 653 F.3d 820, 825
22   (9th Cir.2011)).
23           Here, Fiber Research has sufficiently alleged standing both for its claims as the owner
24   of the “exclusive right to sell Propol in the United States” (FAC ¶ 74), and as “the assignee
25   of Shimizu’s legal rights of action in the United States for any damages incurred by Shimizu
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           Obesity Research Inst., LLC v. Fiber Research Int’l, LLC, No. 15-cv-595-BAS-MDD
           OPPOSITION TO MOTION TO DISMISS FIRST AMENDED COUNTERCLAIMS
         Case 3:15-cv-00595-BAS-MDD Document 48 Filed 07/06/15 PageID.484 Page 15 of 36




 1   by virtue of any unlawful selling or marketing of products in unfair or unlawful competition
 2   with Propol,” (id. ¶ 29). 1
 3                 1.     Fiber Research Has Adequately Alleged Lost Sales
 4           Propol is a high-quality glucomannan resulting from Shimizu’s patented growing and
 5   extraction processes, and available for purchase exclusively from Fiber Research and
 6   Shimizu. Propol’s weight loss efficacy has been clinically proven, through “double-blind
 7   placebo-controlled stud[ies]” (id. ¶¶ 45-46). Obesity research relies on those studies, as well
 8   as meta-analyses “of studies that include[] studies of Propol,” as purportedly substantiating
 9   Lipozene’s efficacy claims (id. ¶¶ 48-63.) Thus, in order for Lipozene’s efficacy claims to be
10   truthful, Lipozene would have had to contain Propol, the only glucomannan whose efficacy
11   is supported by Obesity Research’s cited studies. (See id. ¶¶ 60-63, 73.)
12           But instead of purchasing Propol from Fiber Research or Shimizu, Obesity Research
13   purchased “cheap knock-off ingredients” (id. ¶ 27). In sum, “Obesity Research is trading and
14   prospering in the marketplace leveraging the strength of the Propol brand, without actually
15   buying Propol from Shimizu, through Fiber Research, resulting in millions of dollars of lost
16   sales to both companies.” (Id. ¶ 76.) Accordingly, Fiber Research has sufficiently alleged
17   standing under the Lanham Act. See Rosenfeld v. W.B. Saunders, a Div. of Harcourt Brace
18   Jovanovich, Inc., 728 F. Supp. 236, 242 (S.D.N.Y. 1990) (Lanham act standing where “the
19   Trusts los[t] potential profit every time a sale [wa]s lost”), aff’d sub nom., 923 F.2d 845 (2d
20   Cir. 1990).
21
     1
22     In a footnote, Obesity Research argues that this “purported assignment is without merit,”
     citing In re Wellpoint, Inc. Out-of-Network “UCR” Rates Litig., 903 F. Supp. 2d 880, 898
23   (C.D. Cal. 2012). Wellpoint, however, held that assignments that “expressly relate to the right
24   to receive [health] benefits” did not convey the right to sue under RICO and ERISA and thus
     has no bearing on the validity of the assignment in this action. Here, Fiber Research was
25   assigned not merely some benefits, but precisely the causes of action asserted in the
26   Counterclaims. Obesity Research provides no compelling reason to divert from the “general
     rule[ that] the assignee of a chose in action stands in the shoes of his assignor, taking his
27   rights and remedies . . . .” Essex Ins. Co. v. Five Star Dye House, Inc., 38 Cal. 4th 1252, 1264
28   (2006) (internal citations and quotes omitted).
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          Obesity Research Inst., LLC v. Fiber Research Int’l, LLC, No. 15-cv-595-BAS-MDD
         OPPOSITION TO MOTION TO DISMISS FIRST AMENDED COUNTERCLAIMS
         Case 3:15-cv-00595-BAS-MDD Document 48 Filed 07/06/15 PageID.485 Page 16 of 36




 1           Obesity Research misses the point when it argues it “is free to purchase the
 2   glucomannan ingredient manufactured by a third party” (Mot. at 10). Fiber Research alleges
 3   that its use of any other glucomannan would render Lipozene’s advertising false and
 4   misleading. It is thus irrelevant whether Fiber Research “has cornered the market on ‘high-
 5   quality glucomannan’” (id. at 10), because Fiber Research alleges Shimizu is the sole source
 6   of Propol (FAC ¶¶ 24, 37-38), the only glucomannan that could be used by a manufacturer
 7   who wishes to truthfully (and lawfully) rely on Propol studies to make the weight loss efficacy
 8   claims that Obesity Research makes for Lipozene.2 By instead purchasing cheap knock-off
 9   ingredients for Lipozene, Obesity Research cost Fiber Research and Shimizu millions of
10   dollars of lost sales. (FAC ¶ 76.)
11                 2.    Fiber Research Has Adequately Alleged Lost Market Share,
12                       Reputational Harm, and Lost Goodwill
13           Shimizu’s family has been in the business of farming and refining Konjac for more
14   than 300 years, spending decades developing and testing its proprietary glucomannan before
15   offering it for sale in United States under the federally-registered Propol mark. (Id. ¶¶ 37-47.)
16   These efforts paid off, earning Shimizu “a near-100% market share for refined Konjac root
17   products like glucomannan in the United States in 2000” (id. ¶ 78). Given this, it is common
18   sense Propol had a good reputation in the industry and substantial associated goodwill. 3
19
20   2
       Nor need the FAC identify the exact date of the exclusive sales agreement between Fiber
21   Research and Shimizu. (See Mot. at 7.) Shimuzu has always been the only manufacturer of
     Propol (FAC ¶¶ 24, 37-38), and thus would have benefited from all sales of Propol, including
22   lost sales to Obesity Research. Moreover, the exclusive agreement existed at least as of March
23   10, 2015, when Fiber Research sent a letter to Obesity Research regarding “its Propol A®
     product manufactured by Shimizu Chemical Corporation” (see Compl., Dkt. No. 1 at ¶ 4),
24   and thus Fiber Research has lost sales to Obesity Research since at least that time.
25   3
       Obesity Research complains that the FAC lacks “specific factual allegations relating to
26   Shimizu’s reputation amongst American consumers.” (Mot. at 8.) But Fiber Research is
     entitled to all reasonable inferences that arise from its factual allegations and the Court must
27   “draw on its judicial experience and common sense” in construing the pleadings. Robbins,
28   2013 WL 2252646, at *1 (quotation and citation omitted). In addition, the Lanham Act
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         Obesity Research Inst., LLC v. Fiber Research Int’l, LLC, No. 15-cv-595-BAS-MDD
         OPPOSITION TO MOTION TO DISMISS FIRST AMENDED COUNTERCLAIMS
         Case 3:15-cv-00595-BAS-MDD Document 48 Filed 07/06/15 PageID.486 Page 17 of 36




 1   Propol’s proven superior efficacy (id. ¶¶ 38-47) only reinforces this reasonable inference of
 2   goodwill. However, during the time in which Obesity Research marketed and sold Lipozene
 3   (FAC ¶ 48), Shimizu’s market share was gradually reduced by nearly 98% (id. ¶ 78). 4 This
 4   decline in market share occurred both because of the lost sales to Obesity Research (id. ¶ 76),
 5   and “because Obesity Research relies on Propol clinical testing even though Lipozene’s
 6   ingredients are a poor substitute for Propol glucomannan” (id. ¶ 77), thereby “passing off its
 7   sub-standard, adulterated, unrefined Konjac root product as the same or substantially the same
 8   as” Propol (id. ¶ 28). As a result of Obesity Research’s conduct, “Shimizu and Fiber Research
 9   have lost sales and opportunities to make sales.” (Id. ¶ 77.) Such allegations are sufficient to
10   plead Lanham Act standing.
11           Both Shimizu’s reputation and Propol’s goodwill were damaged for the same reason
12   Shimizu lost its market share—Obesity Research, by falsely claiming that the Propol studies
13   demonstrate Lipozene’s efficacy, passes off its inferior product as Propol. (Id. ¶¶ 28, 77.)
14   Even Obesity Research acknowledges that “equating a product with an inferior product” is
15   an “example[] of reputational harm” recognized by the Supreme Court. (Mot. at 8 (quoting
16   Belmora LLC v. Bayer Consumer Care AG, 2015 WL 518571, at *7 (E.D. Va. Feb. 6, 2015)).)
17   Similarly, as the owner of “the exclusive right to sell Propol in the United States” (FAC ¶
18   74), Fiber Research has suffered from the false association between Shimizu’s high-quality
19
20   protects reputation not merely among consumers, but rather among the relevant class of
21   purchasers, which here is those who purchase glucomannan (or related products) for the
     manufacture of dietary supplements. See TV Land, L.P. v. Viacom Intern., Inc., 908 F. Supp.
22   543, 550 (N.D. Ill. 1995) (likelihood of confusion is evaluated in relation to “the relevant
23   class of customers and potential customers” (quoting Sands, Taylor & Wood Co. v. Quaker
     Oats Co., 978 F.2d 947, 957 (7th Cir.1992), cert. denied, 507 U.S. 1042 (1993))).
24
     4
       Obesity Research accuses Fiber Research of “attacking ‘mostly Chinese Manufacturers’ for
25   causing their alleged economic injuries . . . because such manufacturers have gained market
26   share” (Mot. at 10). But Fiber Research’s FAC actually goes a step further, expressly linking
     this lost market share to Obesity Research’s purchasing knock-off ingredients elsewhere, then
27   falsely relying on Propol studies to support Obesity Research’s Lipozene advertising claims.
28   (FAC ¶¶ 28, 77, 78).
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         Obesity Research Inst., LLC v. Fiber Research Int’l, LLC, No. 15-cv-595-BAS-MDD
         OPPOSITION TO MOTION TO DISMISS FIRST AMENDED COUNTERCLAIMS
         Case 3:15-cv-00595-BAS-MDD Document 48 Filed 07/06/15 PageID.487 Page 18 of 36




 1   glucomannan, and Obesity Research’s inferior Lipozene product. (Id. ¶¶ 28, 102-103.)5
 2   Accordingly, Fiber Research has sufficiently pled standing to assert its Lanham Act claims.
 3   See Luxul Tech., 2015 WL 352048, at *5 (Lanham Act standing based on allegations that
 4   “Defendants’ misrepresentations regarding the source of the LED tube lamps resulted in harm
 5   to the distinctiveness of Plaintiff’s product, brand, goodwill, and reputation” and “the loss of
 6   potential customers and sales”); c.f. Merck Eprova AG v. Brookstone Pharm., LLC, 920 F.
 7   Supp. 2d 404, 416 (S.D.N.Y. 2013) (“Although Merck and Acella are not direct competitors,
 8   insofar as Merck does not produce finished consumer products, Merck and Acella both
 9   produce competing sources of folate for use in dietary supplements. Merck’s ‘stake in the
10   [folate] market gives it a reasonable interest to be protected against the alleged false
11   advertising.’” (Quoting Johnson & Johnson v. Carter–Wallace, Inc., 631 F.2d 186, 190 (2d
12   Cir.1980)).
13           In arguing that Fiber Research’s allegations regarding reputational harm are not
14   specific enough, Obesity Research confuses the standard on a motion to dismiss with the
15   standard for issuing a preliminary injunction. (See Mot. at 8 (citing Camel Hair and Cashmere
16   Inst. of Am. v. Associated Dry Goods Corp., 799 F.2d 6, 10 (1st Cir. 1986)).) Camel Hair
17   deals with a plaintiff that was denied a preliminary injunction because it “adduced no
18   evidence to show what kind of reputation it has that is in danger of being harmed.” Id. at 799
19   F.2d at 10 (emphasis added). At the motion to dismiss stage, however, Fiber Research need
20   only allege facts—the truth of which are assumed—that give rise to a plausible claim for
21   relief. Tellingly, Obesity Research cites no cases where allegations of existing reputation
22   were found insufficient at the pleading stage.
23
     5
24     In asserting that “[t]he FAC contains no plausible factual allegations regarding what kind
     of reputation Fiber Research has” (Mot. at 8), Obesity Research again ignores that Fiber
25   Research is entitled to all reasonable inferences that arise from the allegations in the FAC.
26   The FAC alleges the superior efficacy of Propol, and that Fiber Research is the exclusive
     distributor of Propol in the United States. It is reasonable to assume from these allegations
27   that Fiber Research enjoys a reputation as the sole distributor of the only glucomannan
28   clinically-proven to promote weight loss.
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         Obesity Research Inst., LLC v. Fiber Research Int’l, LLC, No. 15-cv-595-BAS-MDD
         OPPOSITION TO MOTION TO DISMISS FIRST AMENDED COUNTERCLAIMS
      Case 3:15-cv-00595-BAS-MDD Document 48 Filed 07/06/15 PageID.488 Page 19 of 36




 1         B.     Fiber Research Has Standing Under the UCL and FAL
 2         Obesity Research’s argument—that Fiber Research lacks its own direct standing to
 3   assert UCL and FAL claims—rests entirely on the erroneous premise that Fiber Research’s
 4   standing depends on its ability to demonstrate its entitlement to restitution. (See Mot. at 20-
 5   22.) The California Supreme Court, however, has expressly rejected Obesity Research’s
 6   position: “this argument conflates the issue of standing with the issue of the remedies to which
 7   a party may be entitled. That a party may ultimately be unable to prove a right to damages
 8   (or, here, restitution) does not demonstrate that it lacks standing to argue for its entitlement
 9   to them.” Clayworth v. Pfizer, Inc., 233 P.3d 1066, 1087 (Cal. 2010) (citing Southern Pac.
10   Co. v. Darnell–Taenzer Co., 245 U.S. 531, 534 (1918)); see also Kwikset Corp. v. Super. Ct.,
11   246 P.3d 877, 894 (Cal. 2011) (“the standards for establishing standing under section 17204
12   and eligibility for restitution under section 17203 are wholly distinct” (citing Clayworth, 233
13   P.3d at 1087)). Simply put, “[a] plaintiff need not allege eligibility for restitution to establish
14   standing.” In re Sony Gaming Networks and Customer Data Sec. Breach Litig., 903 F. Supp.
15   2d 942, 965 (S.D. Cal. 2012) (citation omitted) [hereinafter “Sony Data Breach Litig.”]. The
16   Kwikset court’s analysis demonstrates the logic of this holding:
17         To make standing under section 17204 dependent on eligibility for restitution
18         under section 17203 would turn the remedial scheme of the UCL on its head.
           Injunctions are “the primary form of relief available under the UCL to protect
19         consumers from unfair business practices,” while restitution is a type of
20         “ancillary relief.” (In re Tobacco II Cases, supra, 46 Cal.4th at p. 319, 93
           Cal.Rptr.3d 559, 207 P.3d 20.) As the availability of an injunction depends on
21         standing to sue, if standing to sue depends on eligibility for restitution, then
22         injunctive relief—the primary form of relief under the UCL—has been rendered
           dependent on the availability of a mere ancillary form of relief. . . . Accordingly,
23         we hold ineligibility for restitution is not a basis for denying standing under
24         section 17204 and disapprove those cases that have concluded otherwise.

25   Kwikset Corp., 246 P.3d at 895 (disagreeing with two of the cases on which Obesity Research
26   relies: Buckland v. Threshold Enters., 155 Cal. App. 4th 798 (2007) and Citizens of Humanity
27   v. Costco Wholesale Corp., 171 Cal. App. 4th 1 (2009)). Every case cited by Obesity Research
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        Obesity Research Inst., LLC v. Fiber Research Int’l, LLC, No. 15-cv-595-BAS-MDD
        OPPOSITION TO MOTION TO DISMISS FIRST AMENDED COUNTERCLAIMS
         Case 3:15-cv-00595-BAS-MDD Document 48 Filed 07/06/15 PageID.489 Page 20 of 36




 1   was decided before Clayworth and Kwikset, and thus no longer is good law on this issue. (See
 2   Mot. at 20-22.)
 3           Instead, “[t]o maintain standing under the UCL and FAL, a plaintiff must ‘(1) establish
 4   a loss or deprivation of money or property sufficient to qualify as injury in fact, i.e., economic
 5   injury; and (2) show that economic injury was the result of, i.e., caused by, the unfair business
 6   practice or false advertising that is the gravamen of the claim.’” Sony Data Breach Litig., 903
 7   F. Supp. 2d at 965 (quoting Kwikset Corp., 246 P.3d at 885).” As explained above, the FAC
 8   alleges Fiber Research has lost sales to Obesity Research, as well as suffered lost market
 9   share and harm to goodwill, from Obesity Research’s false advertising. (See supra Section
10   I.A.) Fiber Research thus sufficiently alleges standing under the UCL and FAL. See Allergan,
11   Inc. v. Athena Cosmetics, Inc., 640 F.3d 1377, 1382 (Fed. Cir. 2011) (plaintiff had standing
12   under UCL where it alleged “lost sales, revenue, market share, and asset value” as a result of
13   defendant’s false advertising); AngioScore, Inc. v. TriReme Med., LLC, 2014 WL 4438082,
14   at *7 (N.D. Cal. Sept. 9, 2014) (allegation of lost business as a result of unfair competition
15   sufficient to plead standing “under the UCL’s expansive standing doctrine”); Luxul Tech.
16   Inc., 2015 WL 352048, at *9 (“Plaintiff has alleged an economic injury in the form of lost
17   customers and sales revenue. That is sufficient to satisfy standing under the UCL.” (citation
18   omitted)).6
19   III.    THE FAC STATES A CLAIM FOR RELIEF UNDER THE LANHAM ACT
20           A.    The FAC States a Claim for False Designation of Origin
21           “A party is liable for false designation of origin under the Lanham Act if they use a
22   false or misleading representation of fact which is likely to cause confusion as to the origin,
23   sponsorship, or approval of goods and services.” Spearmint Rhino Companies Worldwide,
24   Inc. v. Chiappa Firearms, Ltd., 2012 WL 8962882, at *2 (C.D. Cal. Jan. 20, 2012) (citing 14
25
26
     6
      Obesity Research is correct that Fiber Research is not entitled to assert UCL and FAL claims
27   on behalf of Shimizu. However, as noted above, Fiber Research is entitled to assert such
28   claims on its own behalf.
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         Obesity Research Inst., LLC v. Fiber Research Int’l, LLC, No. 15-cv-595-BAS-MDD
         OPPOSITION TO MOTION TO DISMISS FIRST AMENDED COUNTERCLAIMS
      Case 3:15-cv-00595-BAS-MDD Document 48 Filed 07/06/15 PageID.490 Page 21 of 36




 1   U.S.C. § 1125(a)). The FAC alleges that Obesity Research “use[s] a false or misleading
 2   representation of fact” because Obesity Research falsely claims that the Propol studies
 3   support Lipozene’s efficacy claims (FAC ¶¶ 48-63), even going so far as to call them the
 4   “Lipozene Clinical Studies” (id. ¶¶ 28, 59-60), which Obesity Research further claims are
 5   “sponsored by ORI” (id. ¶¶ 56, 70-71), when in fact the studies are of Propol, not Lipozene,
 6   (id. ¶¶ 60-63), and the products are not substantially similar (id. ¶¶ 64-69). The FAC further
 7   alleges that “Obesity Research’s false and misleading statements actually confuse and
 8   deceive, or have the tendency to, and are likely to confuse and deceive an appreciable number
 9   of relevant consumers and members of the trade.” (Id. ¶ 81; see also id. ¶ 84.)
10         Despite the clarity of these allegations, Obesity Research argues Fiber Research fails
11   to state a claim for false designation of origin because: (1) “the allegations of likelihood of
12   confusion are conclusory”; (2) “the FAC fails to allege that Fiber Research uses the Propol
13   Trademark in United States Commerce”; (3) “the FAC fails to allege that ORI uses the Propol
14   Trademark in United States Commerce”; and (4) “the FAC fails to identify when the owner
15   of Propol’s trademark gave statutory notice or when ORI obtained actual notice” of
16   registration. (Mot. at 12-13.) Each of these arguments fails.
17         Among other things, this is not a trademark infringement case where the parties’
18   respective marks are considered. This is a case of false advertising, false representations, and
19   false designation of origin under the Lanham Act—not because Obesity Research uses a mark
20   confusingly similar to the Propol mark—but because Obesity Research falsely claims
21   Lipozene is the subject of clinical studies that actually relate instead to Propol glucommanan.
22                1.     The FAC Sufficiently Pleads Likelihood of Confusion
23         A claim may only be dismissed for failing to allege likelihood of confusion “on a
24   motion to dismiss, ‘if the court determines as a matter of law from the pleadings that the
25   goods are unrelated and confusion is unlikely,’” Celebrity Chefs Tour, LLC v. Macy’s, Inc.,
26   16 F. Supp. 3d 1141, 1153 (S.D. Cal. 2014) (emphasis added) (quoting Murray v. Cable Nat'l
27   Broad. Co., 86 F.3d 858, 860 (9th Cir.1996) (citing Toho Co. Ltd. v. Sears, Roebuck & Co.,
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        Obesity Research Inst., LLC v. Fiber Research Int’l, LLC, No. 15-cv-595-BAS-MDD
        OPPOSITION TO MOTION TO DISMISS FIRST AMENDED COUNTERCLAIMS
         Case 3:15-cv-00595-BAS-MDD Document 48 Filed 07/06/15 PageID.491 Page 22 of 36




 1   645 F.2d 788, 790–91 (9th Cir.1981)). “However, ‘[w]hether confusion is likely is a factual
 2   determination woven into the law’ that courts ‘routinely treat . . . as [an issue] of fact’ best
 3   left for determination by a jury.” Wahoo Intern., Inc. v. Phix Dr., Inc., 2014 WL 2864343, at
 4   *4 (S.D. Cal. June 24, 2014) (quoting Levi Strauss & Co. v. Blue Bell, Inc., 778 F.2d 1352,
 5   1356, 1356 n. 5 (9th Cir.1985)).
 6           Obesity Research takes issue with the FAC’s purported failure to address the relevant
 7   Sleekcraft factors, arguing that the FAC’s allegations are thus “inadequate to plausibly show
 8   a likelihood of confusion amongst consumers” (Mot. at 12). In Sleekcraft, the Court outlined
 9   a non-exhaustive list of factors that may be relevant to determining whether confusion is
10   likely: (1) strength of the mark; (2) proximity of the goods; (3) similarity of the marks; (4)
11   evidence of actual confusion; (5) marketing channels used; (6) type of goods and the degree
12   of care likely to be exercised by the purchaser; (7) defendant’s intent in selecting the mark;
13   and (8) likelihood of expansion of the product lines. AMF Inc. v. Sleekcraft Boats, 599 F.2d
14   341, 348-49 (9th Cir. 1979). But “[t]he Ninth Circuit does not require a Sleekcraft analysis to
15   make such a legal determination,” Ketab Corp. v. Mesriani L. Group, 2015 WL 2409351, at
16   *3 (C.D. Cal. May 20, 2015). 7 And even where courts consider the Sleekcraft factors, they
17   are “a ‘guide’ to decision-making, intended to channel the analytical process but not dictate
18   any result.” Entrepreneur Media, Inc. v. Smith, 279 F.3d 1135, 1141 (9th Cir. 2002) (citing
19   E. & J. Gallo Winery v. Gallo Cattle Co., 967 F.2d 1280, 1290 (9th Cir. 1992)). Thus courts
20   “do not decide whether confusion is likely by considering mechanically the number of
21   Sleekcraft factors that weigh in favor of either party, or by giving the same weight to a
22   particular factor from case to case.” Id. (citing Brookfield Commun., Inc. v. W. Coast Ent.
23
     7
24     Moreover, where a defendant has “failed to address all of the Sleekcraft factors and whether
     they weigh against a likelihood of confusion,” the Court is left without both “parties’
25   arguments as to these factors” and is thus “unable to thoroughly analyze likelihood of
26   confusion at this time.” See Browne v. McCain, 612 F. Supp. 2d 1125, 1133 (C.D. Cal. 2009)
     (denying motion to dismiss Lanham Act claim where defendant argued plaintiff was unable
27   to show likelihood of confusion, but did not address how the Sleekcraft factors weighed
28   against such a finding).
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         Obesity Research Inst., LLC v. Fiber Research Int’l, LLC, No. 15-cv-595-BAS-MDD
         OPPOSITION TO MOTION TO DISMISS FIRST AMENDED COUNTERCLAIMS
      Case 3:15-cv-00595-BAS-MDD Document 48 Filed 07/06/15 PageID.492 Page 23 of 36




 1   Corp., 174 F.3d 1036, 1054 (9th Cir. 1999)). “[T]he relative importance of each individual
 2   factor will be case-specific” and “it is often possible to reach a conclusion with respect to
 3   likelihood of confusion after considering only a subset of the factors.” Id. at 1054 (citing
 4   Dreamwerks Prod. Group v. SKG Studio, 142 F.3d 1127, 1130–32 (9th Cir.1998)).
 5         Because trademarks are not at issue in this case in terms of infringement, several of the
 6   Sleekcraft factors are not applicable, such as strength of the senior user’s mark and similarity
 7   of the parties’ marks. And although Fiber Research is not required at the pleading stage to
 8   allege factual bases for various Sleekcraft factors, it is clear that the FAC plausibly alleges
 9   likelihood of confusion from Obesity Research’s false claim that its product is the subject of
10   clinical studies that actually relate only to Shimizu’s superior product.
11         For example, both parties sell glucomannan (or at least purported glucomannan)
12   products, such that they are at least clearly related if not directly competitive. They are similar
13   in use and advertised as having identical functions. Both are for weight loss and purportedly
14   contain Konjac root. (FAC ¶¶ 24, 27, 40, 44-57.) And while Fiber Research alleges that
15   Lipozene is not similar in function (id. ¶¶ 64-69), Lipozene is marketed as having the same
16   function as Propol, even relying on studies of Propol in an attempt to claim identical efficacy
17   (id. ¶¶ 48-63). With such similarities in use and purported function, the products at a
18   minimum are clearly related. See Fleischmann Distilling Corp. v. Maier Brewing Co., 314
19   F.2d 149, 159 (9th Cir.1963) (“The use need not be the same as, nor one in competition with
20   the original use. The question is, are the uses related so that they are likely to be connected
21   in the mind of a prospective purchaser”). In other words, “[g]oods are proximate or related if
22   they ‘are similar in use and function,’ and ‘would be reasonably thought by the buying public
23   to come from the same source if sold under the same mark.’” Aurora World, Inc. v. Ty Inc.,
24   719 F. Supp. 2d 1115, 1160 (C.D. Cal. 2009) (quoting Sleekcraft, 599 F.2d at 348 n. 10) See
25   also Brookfield, 174 F.3d at 1056 (holding that because “both companies offer products and
26   services relating to the entertainment industry generally, and their principal lines of business
27   both relate to movies specifically,” there was sufficient relatedness to support a finding of
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        Obesity Research Inst., LLC v. Fiber Research Int’l, LLC, No. 15-cv-595-BAS-MDD
        OPPOSITION TO MOTION TO DISMISS FIRST AMENDED COUNTERCLAIMS
      Case 3:15-cv-00595-BAS-MDD Document 48 Filed 07/06/15 PageID.493 Page 24 of 36




 1   likelihood of confusion); Fortune Dynamic, Inc. v. Victoria’s Secret Stores Brand Mgt., Inc.,
 2   618 F.3d 1025, 1035 (9th Cir. 2010) (“Given the intuitively close relationship between
 3   women’s shoes and apparel in the minds of the consuming public, a jury could reasonably
 4   conclude that the ‘proximity of the goods’ factor favors Fortune.”); Celebrity Chefs Tour,
 5   LLC., 16 F. Supp. 3d at 1167 (denying motion to dismiss where “[c]onfusion seem[ed]
 6   particularly likely given that the goods are so similar”); Bylin Heating Sys., Inc. v. M & M
 7   Gutters, LLC, 2007 WL 3238668, at *4 (E.D. Cal. Oct. 31, 2007) (denying motion to dismiss
 8   where “plaintiffs allege[d] that plaintiffs and defendants target identical consumer classes
 9   through identical channels of trade. Further, the complaint alleges that the services and
10   products marketed and sold by the parties are nearly identical.”).
11         In addition, Obesity Research’s Lipozene packaging, and television and website
12   advertising refer to studies, which are studies of Propol. (See FAC ¶¶ 60-63 & Ex. 2.) The
13   FAC alleges similarity of marketing channels, at least insofar as the both parties use the
14   internet      to      market       their      product.       (See      id.     ¶¶       58-60;
15   http://shimizuchemical.co.jp/eng/propol/index.html.) The FAC also alleges the Sleekcraft
16   factor of actual confusion (id. ¶ 81). And the FAC alleges “Obesity Research knew or in the
17   exercise of reasonable care should have known that, as alleged herein, its publicly-
18   disseminated statements and omissions regarding Lipozene were false and misleading.” (Id.
19   ¶ 101.) These allegations plausibly support a likelihood of confusion. See, e.g., Wahoo Intern,
20   2014 WL 2864343, at *4; Bylin Heating, 2007 WL 3238668, at *4; Kythera
21   Biopharmaceuticals, Inc. v. Lithera, Inc., 998 F. Supp. 2d 890, 901 (C.D. Cal. 2014). Indeed,
22   it is hard to imagine more detailed factual allegations to support a Lanham Act claim for false
23   advertising, false representations, and false designation of origin.
24                2.     The FAC Sufficiently Pleads Use of the Propol Trademark in United
25                       States Commerce
26         Obesity Research acknowledges that “the FAC alleges that Shimizu has ‘obtained a
27   United States federal trademark registration for the [Propol®] name’” (Mot. at 13 (quoting
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        Obesity Research Inst., LLC v. Fiber Research Int’l, LLC, No. 15-cv-595-BAS-MDD
        OPPOSITION TO MOTION TO DISMISS FIRST AMENDED COUNTERCLAIMS
      Case 3:15-cv-00595-BAS-MDD Document 48 Filed 07/06/15 PageID.494 Page 25 of 36




 1   FAC ¶ 37).) Registration of a trademark requires that “[t]he owner . . . used [it] in commerce,”
 2   and the application for registration must include a verified statement of the “date of the
 3   applicant’s first use of the mark in commerce,” 15 U.S.C. § 1051. Thus, allegations of a valid
 4   trademark registration, like that in the FAC, necessarily establish that Shimizu has used the
 5   Propol mark in commerce. Further, the FAC alleges that “[p]ursuant to an exclusive sales
 6   contract with Shimizu, Fiber Research markets Propol in the United States.” (FAC ¶ 28.). But
 7   more importantly, this is irrelevant since the case is not about trademark infringement.
 8                3.     Obesity Research’s Use of the Propol Trademark is Not a
 9                       Requirement of a False Designation of Origin Claim
10         Obesity research’s argument that “the FAC fails to allege that ORI uses the Propol
11   Trademark in United States Commerce” presupposes that this is a requirement for a false
12   designation of origin claim. But, as explained earlier, the FAC need only allege that Obesity
13   Research used a false or misleading designation of origin in commerce. See Planet Coffee
14   Roasters, Inc. v. Dam, 2009 WL 2486457, at *2 (C.D. Cal. Aug. 12, 2009)
15         To prove a false designation of origin claim, a plaintiff must show that
16         defendant (1) uses a false designation of origin; (2) in interstate commerce;
           (3) and in connection with goods or services; (4) when the designation is likely
17         to cause confusion, mistake, or deception as to the origin, sponsorship, or
18         approval of defendant’s goods, services, or commercial activities by another
           person; and (5) plaintiff has been or is likely to be damaged by these acts.
19         (citing MCCARTHY ON TRADEMARKS AND UNFAIR COMPETITION § 27:13
20         (Fourth Ed.).

21         Obesity Research’s argument inappositely relies on elements of trademark
22   infringement, a cause of action not alleged in the FAC. See, e.g., Hanginout, Inc. v. Google,
23   Inc., 54 F. Supp. 3d 1109, 1118 (S.D. Cal. 2014) (“To state a claim for trademark
24   infringement under the Lanham Act, 15 U.S.C. § 1125(a), a plaintiff must demonstrate that it
25   is: “(1) the owner of a valid, protectable mark, and (2) that the alleged infringer is using a
26   confusingly similar mark.” (citing Herb Reed Enters., LLC v. Fla. Entm't Mgmt., Inc., 736
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        Obesity Research Inst., LLC v. Fiber Research Int’l, LLC, No. 15-cv-595-BAS-MDD
        OPPOSITION TO MOTION TO DISMISS FIRST AMENDED COUNTERCLAIMS
      Case 3:15-cv-00595-BAS-MDD Document 48 Filed 07/06/15 PageID.495 Page 26 of 36




 1   F.3d 1239, 1247 (9th Cir.2013) (citing Grocery Outlet, Inc. v. Albertson's, Inc., 497 F.3d 949,
 2   951 (9th Cir.2007)))).
 3                4.     The FAC Alleges Notice of Registration of the Propol Trademark to
 4                       Obesity Research, Even Though it was not Required
 5         Obesity Research is similarly wrong that “the request for ORI’s profits and the request
 6   for treble damages should be dismissed,” because the FAC supposedly “fails to identify when
 7   Propol’s trademark owner gave statutory notice to ORI of notice of registration nor when
 8   ORI received actual notice” (Mot. at 13). Obesity Research’s argument once again confuses
 9   this case for an infringement action, citing 15 U.S.C. § 1111, which applies only to “any suit
10   for infringement . . . .” Moreover, even if such notice were required, it is accomplished by
11   “displaying with the mark . . . the letter R enclosed within a circle, thus ®,” id., which Obesity
12   Research’s complaint acknowledges was done by a letter dated March 10, 2015. (Compl. ¶¶
13   4, 10.)
14         B.     The FAC States a Claim for False Advertising
15         Although its Motion recites six elements necessary to establish a Lanham Act false
16   advertising claim (Mot. at 14), Obesity Research challenges only two of these elements as
17   insufficiently pled: (1) that the challenged statements are false or misleading (id. at 14-16);
18   and (2) that Fiber Research has been or is likely to be injured (id. at 16).
19                1.     The FAC Sufficiently Alleges Lipozene’s Advertising is False and
20                       Misleading
21         Its only basis for asserting that Fiber Research’s false advertising allegations are
22   insufficient is Obesity Research’s contention that the challenged Lipozene advertising does
23   not clearly refer to the Propol trademark. (See Mot. at 14-16.) But whether the challenged
24   claims, or the studies Obesity Research claims support them, mention Propol by name, is
25   entirely irrelevant to Fiber Research’s false advertising claim.
26         The FAC alleges that Obesity Research makes claims on the product packaging, in
27   television commercials, and online, regarding Lipozene’s efficacy as a weight loss
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        Obesity Research Inst., LLC v. Fiber Research Int’l, LLC, No. 15-cv-595-BAS-MDD
        OPPOSITION TO MOTION TO DISMISS FIRST AMENDED COUNTERCLAIMS
      Case 3:15-cv-00595-BAS-MDD Document 48 Filed 07/06/15 PageID.496 Page 27 of 36




 1   supplement (FAC ¶¶ 48-59, 70-73), that “actually confuse and deceive,” and which “are
 2   likely to confuse and deceive an appreciable number of consumers and member of the trade”
 3   (id. ¶¶ 80-81). Obesity Research relies on various studies to allegedly substantiate these
 4   claims. (Id. ¶¶ 48-59, 70-73.) But the studies do not substantiate the claims because the studies
 5   are of Propol, not Lipozene (id. ¶¶ 60-63), and Lipozene and Propol are not substantially
 6   similar (id. ¶¶ 64-69). (See also id. ¶ 73 (summarizing false advertising claim).) That the
 7   studies are of Propol and not Lipozene demonstrates that the challenged statements are indeed
 8   literally false, but a consumer need not believe “that Lipozene contains Propol-branded
 9   glucomannan as an ingredient” (Mot. at 15), in order to be deceived and misled by Lipozene’s
10   efficacy claims.
11                 2.     Fiber Research Has Alleged Injury in the Form of Lost Sales, Lost
12                        Market Share, Reputational Harm, and Lost Goodwill
13           As discussed in detail above, Plaintiff has adequately alleged lost sales (FAC ¶¶ 76-
14   77), lost market share (id. ¶ 78 ), and reputational harm and lost goodwill (id. ¶¶ 102-103).
15   (See supra, Section II.A.) The Court should find that the FAC sufficiently pleads that Fiber
16   Research has been injured and is likely to suffer future injury as a result of Obesity Research’s
17   false advertising.
18   IV.     THE FAC STATES A CLAIM FOR UNFAIR COMPETITION UNDER THE
19           UCL
20           Obesity Research’s argument that “the counterclaims rely upon outdated definitions of
21   ‘unfair’ conduct to support the UCL claim” (Mot. at 23 (header capitalization omitted)),
22   suffers from two major flaws. First, Obesity Research misreads the holding of Cel-Tech as
23   applying to all UCL unfair claims. Second, Obesity Research misunderstands the bases of
24   Fiber Research’s claims.
25           Obesity Research relies on Cel-Tech Communications, Inc. v. L.A. Cellular Tel. Co.,
26   20 Cal. 4th 163 (1999), to assert that unfairness under the UCL is defined as “conduct that
27   threatens an incipient violation of an antitrust law, or violates the policy or spirit of one of
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           Obesity Research Inst., LLC v. Fiber Research Int’l, LLC, No. 15-cv-595-BAS-MDD
           OPPOSITION TO MOTION TO DISMISS FIRST AMENDED COUNTERCLAIMS
      Case 3:15-cv-00595-BAS-MDD Document 48 Filed 07/06/15 PageID.497 Page 28 of 36




 1   those laws because its effects are comparable to or the same as a violation of the law, or
 2   otherwise significantly threatens or harms competition.” (Mot. at 24 (quoting Cel-Tech, 20
 3   Cal. 4th at 187).) However, Cel-Tech was “an action by a competitor alleging anticompetitive
 4   practices,” 20 Cal. 4th at 187 n.12, and the court specifically “limited [its holding] to that
 5   context,” making clear that its holding did not extend to “actions by consumers or by
 6   competitors alleging other kinds of violations of the unfair competition law such as
 7   ‘fraudulent’ or ‘unlawful’ business practices or ‘unfair, deceptive, untrue or misleading
 8   advertising.’” Id. (emphasis added).
 9         This action, however, involves “unfair, deceptive, untrue or misleading advertising,”
10   and does not allege “anticompetitive practices,” and was thus explicitly excluded from the
11   holding of Cel-Tech. (See generally FAC; see also id. ¶¶ 91-93.) It is unsurprising, then, that
12   Fiber Research has not “cite[d] conduct that ‘threatens an incipient violation of antitrust law’”
13   (Mot. at 24 (quoting Cel-Tech, 20 Cal. 4th at 187).)
14         This case is much more akin to Luxul Tech., where a producer of energy-efficient LED
15   products brought an action against sales representatives, a marketing consulting firm, and the
16   firm’s principal for false designation of origin and false advertising under the Lanham Act,
17   unfair competition and false advertising under California law, copyright infringement, and
18   breach of contract. See 2015 WL 352048, at *1, *4. There, the court explained that “[a]
19   business practice violates the unfair prong of the UCL if it is contrary to ‘established public
20   policy or if it is immoral, unethical, oppressive or unscrupulous or causes injury to consumers
21   which outweighs its benefits.” Id., at *9 (quoting McKell v. Wash. Mut. Inc., 142 Cal. App.
22   4th 1457, 1473 (2006)). The FAC articulates this exact standard. (See FAC ¶ 91.)
23         Lastly, Obesity Research ignores that “[a] violation of the false advertising law
24   automatically gives rise to a violation of the unfair competition provision.” Ariz. Cartridge
25   Remanufacturers Ass’n, Inc. v. Lexmark Intern., Inc., 421 F.3d 981, 986 (9th Cir. 2005)
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        Obesity Research Inst., LLC v. Fiber Research Int’l, LLC, No. 15-cv-595-BAS-MDD
        OPPOSITION TO MOTION TO DISMISS FIRST AMENDED COUNTERCLAIMS
         Case 3:15-cv-00595-BAS-MDD Document 48 Filed 07/06/15 PageID.498 Page 29 of 36




 1   (citation omitted). Obesity Research fails to assert that Fiber Research has not stated a claim
 2   for relief under California’s FAL. 8
 3   V.      THE FAC MEETS THE HEIGHTENED PLEADING REQUIREMENTS OF
 4           RULE 9(b)
 5           Under Rule 9(b), a plaintiff “must state with particularity the circumstances
 6   constituting fraud.” Fed. R. Civ. P. 9(b). “In other words, the plaintiff must include ‘the who,
 7   what, when, where, and how’ of the fraud. Vess v. Ciba–Geigy Corp. USA, 317 F.3d 1097,
 8   1106 (9th Cir.2003). A plaintiff alleging false advertising has satisfied this requirement when
 9   it “state[s] the time, place, and specific content of the false representations as well as the
10   identities of the parties to the misrepresentations,” and “what is false or misleading about a
11   statement, and why it is false.” Von Koenig v. Snapple Bev. Corp., 713 F. Supp. 2d 1066,
12   1077 (E.D. Cal. 2010) (quoting Schreiber Distrib. Co. v. Serv–Well Furniture Co., 806 F.2d
13   1393, 1401 (9th Cir.1986); Decker v. GlenFed, Inc., 42 F.3d 1541, 1548 (9th Cir.1994)).
14           Here, Obesity Research dedicates more than a page to outlining the detailed factual
15   allegations concerning the time, place, and specific content of the allegedly false
16   representations. (Mot. at 17-18 (quoting FAC ¶¶ 25, 48, 51-52, 63, 70, 73).) The FAC
17   contains a detailed account of the challenged claims, including pictures of Lipozene’s
18   packaging and website advertising, screen captures, transcripts of television advertisements,
19   and a list summarizing all of “Obesity Research’s false and misleading statements.” (FAC ¶¶
20   48-73.) Each identification of a challenged claim, includes the date on which that
21   advertisement was published. (See id. ¶¶ 48, 51-52, 55, 58, 63, 70-71.) The FAC similarly
22   details what is false and misleading about these statements and why they are false and
23   misleading (see id. ¶¶ 60-69, 72-73). And again Obesity Research admits that:
24           [t]he FAC summarizes the allegations of wrongdoing against ORI as follows:
             “Obesity Research has made false claims concerning Lipozene in at least two
25
             main ways. First, Propol has been shown to have weight loss benefits, but
26
27   8
      Obesity Research argues only that Fiber Research lacks standing under the FAL. As noted
28   above, however, Fiber Research is entitled to assert such claims on its own behalf.
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        Obesity Research Inst., LLC v. Fiber Research Int’l, LLC, No. 15-cv-595-BAS-MDD
        OPPOSITION TO MOTION TO DISMISS FIRST AMENDED COUNTERCLAIMS
      Case 3:15-cv-00595-BAS-MDD Document 48 Filed 07/06/15 PageID.499 Page 30 of 36




 1         Lipozene does not contain Propol; therefore, Lipozene’s reliance on weight loss
           claims from the Propol studies is false advertising. Second, since Lipozene
 2
           contains only unrefined Konjac root powder, and there are no studies supporting
 3         weight loss claims on unrefined Konjac, Obesity Research is misrepresenting that
           Lipozene has any clinically-proven weight loss benefits.”
 4
 5   (Mot. at 17 (quoting FAC ¶ 73)). Lastly, the FAC alleges the “who” of the fraud by alleging,
 6   “Obesity Research’s acts have deceived and, unless restrained, will continue to deceive the
 7   public, including consumers and retailers, causing damage to Fiber Research and its assignor,
 8   Shimizu,” (FAC ¶ 84; see also id. ¶¶ 81, 94-95, 101).
 9         These allegations plainly satisfy Rule 9(b) and Obesity Research’s motion to dismiss
10   on this ground should accordingly be denied. See Von Koenig, 713 F. Supp. 2d at 1077 (Rule
11   9(b) satisfied where plaintiff included examples of product labels, identified challenged
12   claims, and alleged “All Natural” claim was false because the product contained unnatural
13   HFCS); Pom Wonderful LLC v. Ocean Spray Cranberries, Inc., 642 F.Supp.2d 1112, 1124
14   (C.D.Cal.2009) (Rule 9(b) satisfied where complaint alleged when the defendant introduced
15   the drink product, how it was labeled, and what was misleading about the label); In re Clorox
16   Consumer Litig., 894 F. Supp. 2d 1224, 1234 (N.D. Cal. 2012) (Rule 9(b) satisfied where
17   complaint identified the commercials upon which the Plaintiffs allegedly relied, described
18   their contents, when these commercials aired and provided storyboard images).
19         Obesity Research misunderstands the pleading requirements of Rule 9(b). In its
20   Motion, Obesity Research identifies three allegations which are purportedly not detailed
21   enough to satisfy the “heightened pleading requirements of Rule 9(b) of the Fed. R. Civ. P”:
22   (1) Fiber Research has failed to identify the regulatory threshold for labeling an allergen; (2)
23   “Fiber Research does not cite to any source for its factual assertions regarding ‘Xanthan [sic]
24   gum’ . . . being used to ‘spike’ cheap glucomannan knock-off products”; and (3) “the vague
25   references to ‘unlawful’ conduct are insufficient.” (Mot. at 24-25 (header capitalization
26   omitted).) None of these have merit.
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        Obesity Research Inst., LLC v. Fiber Research Int’l, LLC, No. 15-cv-595-BAS-MDD
        OPPOSITION TO MOTION TO DISMISS FIRST AMENDED COUNTERCLAIMS
      Case 3:15-cv-00595-BAS-MDD Document 48 Filed 07/06/15 PageID.500 Page 31 of 36




 1         First, none of these allegations are necessary to plead Obesity Research’s fraud with
 2   particularity. It is the fact that Lipozene contains an allergen that makes its “No known
 3   allergens in this product” claim false and misleading. (FAC ¶ 67.) Fiber Research pleads the
 4   details of independent laboratory testing of Obesity Research’s adulterated product, even
 5   attaching copies of the subject Certificates of Analyses. (FAC ¶ 67 & Ex. 6). Identification
 6   of the regulatory threshold for allergens is unnecessary to give Obesity Research “notice of
 7   what [it is] alleged to have done, so that [it] may defend against the accusations.” Von Koenig,
 8   713 F. Supp. 2d at 1077 (citing Kearns v. Ford Motor Co., 567 F.3d 1120, 1124–25 (9th
 9   Cir.2009)).
10         In arguing that Fiber Research must “cite to a[] source for its factual assertions”
11   regarding xantham gum (Mot. at 25), Obesity Research attempts to turn Rule (b) into an
12   evidentiary requirement, rather than a pleading requirement. But “Rule 9(b) ‘does not require
13   nor make legitimate the pleading of detailed evidentiary matter.’” Keegan v. Am. Honda
14   Motor Co., Inc., 838 F. Supp. 2d 929, 938 (C.D. Cal. 2012) (quoting Walling v. Beverly
15   Enters., 476 F.2d 393, 397 (9th Cir. 1973) (quoting 2A J. Moore, Federal Practice ¶ 9.03, at
16   1930 (2d ed. 1972))). That Lipozene is spiked with xantham gum, when Propol is not, is
17   sufficient to put Obesity Research on notice of Fiber Research’s allegations, namely, because
18   Lipozene is spiked with xantham gum (FAC ¶ 64), it “does not have the same functional
19   chemical profile as Propol” (id. ¶ 65), such that “Obesity Research’s statements are false and
20   misleading because studies demonstrating the efficacy of Shimizu Propol glucomannan . . .
21   do not establish the efficacy of Lipozene in promoting weight loss” (id. ¶ 72).
22         Lastly, Obesity Research takes issue with Fiber Research’s allegations of unlawful
23   behavior. (Mot. at 25.) Obesity Research, however, ignores that the allegations of unlawful
24   behavior “incorporate[] by reference the preceding paragraphs of its counterclaims as though
25   fully set forth” within the allegations of unlawful conduct. As previously explained, Fiber
26   Research’s allegations regarding the false and misleading nature of Lipozene’s advertising
27   satisfy the pleading requirement of Rule 9(b). They are thus similarly sufficient to plead a
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        Obesity Research Inst., LLC v. Fiber Research Int’l, LLC, No. 15-cv-595-BAS-MDD
        OPPOSITION TO MOTION TO DISMISS FIRST AMENDED COUNTERCLAIMS
         Case 3:15-cv-00595-BAS-MDD Document 48 Filed 07/06/15 PageID.501 Page 32 of 36




 1   violation of the California Sherman Act, Cal. Health & Safety Code §§ 110660, which deems
 2   a food “misbranded if its labeling is false or misleading in any particular.” The number of
 3   times the FAC mentions the Sherman Act is irrelevant to whether Fiber Research has pled
 4   fraud with particularity.
 5   VI.     OBESITY RESEARCH’S LACHES ARGUMENT IS PREMATURE
 6           “Laches is an equitable defense which is appropriate when there has been an
 7   inexcusable delay in bringing an action to trial and that delay has prejudiced the fact-finding
 8   process.” Mabey v. Reagan, 376 F. Supp. 216, 220 (N.D. Cal. 1974) (citing D. O. Haynes &
 9   Co. v. Druggists’ Circular, 32 F.2d 215 (2d Cir. 1929); 30A C.J.S. Equity §§ 112-113
10   (1965)). Generally, “laches . . . may not be asserted by motion to dismiss, but should be set
11   forth affirmatively in defendant’s answer.” Dirk Ter Haar v. Seaboard Oil Co. of Delaware,
12   1 F.R.D. 598, 598 (S.D. Cal. 1940) (citing Fed. R. Civ. P. 8(c); Fed. R. Civ. P. 12(b)). This
13   is because “laches . . . defenses often require a fact-intensive investigation that is
14   inappropriate on a motion to dismiss.” 24/7 Customer, Inc. v. 24-7 Intouch, 2015 WL
15   1522236, at *4 (N.D. Cal. Mar. 31, 2015). “A laches defense raised at the motion to dismiss
16   posture requires exclusive reliance on the factual allegations in the complaint.” In re Cathode
17   Ray Tube (CRT) Antitrust Litig., 2014 WL 1091589, at *13 (N.D. Cal. Mar. 13, 2014) (citing
18   Kourtis v. Cameron, 419 F.3d 989, 1000 (9th Cir.2005), overruled on other grounds, 553
19   U.S. 880 (2008)). “Courts have noted that this postural requirement poses a nearly
20   insurmountable obstacle to a favorable resolution of a defendant’s fact-dependent laches
21   claim.” Id. (citing Mishewal Wappo Tribe of Alexander Valley v. Salazar, 2011 WL 5038356,
22   at *7 (N.D. Cal. Oct. 24, 2011); Italia Marittima, S.P.A. v. Seaside Transp. Servs., LLC, 2010
23   WL 3504834, at *6 (N.D. Cal. Sept. 7, 2010)).
24           Nevertheless, Obesity Research, relying on a motion for summary judgment decision,9
25   argues that “Fiber Research’s claims are barred by the laches doctrine” (Mot. at 16). But
26
27   9
       See Mot. at 16 (citing Jarrow Formulas, Inc. v. Nutrition Now, Inc., 304 F.3d 829, 835-43
28   (9th Cir. 2002), cert. denied, 537 U.S. 1047 (2002)).
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         Obesity Research Inst., LLC v. Fiber Research Int’l, LLC, No. 15-cv-595-BAS-MDD
         OPPOSITION TO MOTION TO DISMISS FIRST AMENDED COUNTERCLAIMS
      Case 3:15-cv-00595-BAS-MDD Document 48 Filed 07/06/15 PageID.502 Page 33 of 36




 1   Obesity Research has failed to show that “laches is apparent upon the face of the complaint,”
 2   Fitzpatrick v. Fitzpatrick, 2014 WL 2197610, at *10 (E.D. Cal. May 27, 2014) (citing King
 3   v. Los Angeles Co. Fair Ass’n, 70 Cal.App.2d 592, 596 (1945)), and its Motion should
 4   accordingly be denied.
 5         Instead of pointing to factual allegations concerning when Fiber Research had
 6   knowledge of its claims against Obesity Research, the length of its delay, or the supposed
 7   resulting prejudice to Obesity Research, Obesity Research points only to allegations
 8   concerning when the challenged misrepresentations were published. (See Mot. at 17-18.) But
 9   the date of publication does not establish when Fiber Research knew or should have known
10   about its claims, especially considering that Obesity Research “attempt[ed] to conceal the
11   identity of the specific clinical testing to which its Lipozene commercials and advertising
12   have consistently referred” (FAC ¶ 12). The allegations on which Obesity Research relies
13   establish only that Fiber Research, upon learning of its claims, did its due diligence to
14   determine the factual bases of its claims. 10 Similarly, Obesity Research relies on mere
15   unsupported attorney argument to contend that “Shimizu was well aware that ORI was being
16   supplied with glucomannan from a different supplier dating back to this time period” (Mot.
17   at 19). Unsurprisingly, Obesity Research does not cite to the FAC; nor could it, as such
18   allegations are entirely absent.
19         Nor does Obesity Research point to any allegations of prejudice. Instead, Obesity
20   Research asks the Court to infer prejudice from the fact that it has “heavily marketed its
21   Lipozene products over the years, as confirmed by the FAC’s allegations” (Mot. at 19). Even
22   assuming Obesity Research is entitled to such an inference drawn at this stage (it is not), more
23   is required for a showing of prejudice. “A defendant has been prejudiced by a delay . . . when
24
25   10
        For example, while Obesity Research questions “[h]ow else . . . the [FAC] [would] assert
26   that ORI has aired about 14 different television commercials nationwide regarding Lipozene”
     (Mot. at 18), the commercials are catalogued at the following website, discovered by Fiber
27   Research’s       counsel       during       its     investigation    of      the     action:
28   http://www.ispot.tv/brands/d8k/lipozene.
                                                     23
         Obesity Research Inst., LLC v. Fiber Research Int’l, LLC, No. 15-cv-595-BAS-MDD
         OPPOSITION TO MOTION TO DISMISS FIRST AMENDED COUNTERCLAIMS
      Case 3:15-cv-00595-BAS-MDD Document 48 Filed 07/06/15 PageID.503 Page 34 of 36




 1   a defendant has changed his position in a way that would not have occurred if the plaintiff
 2   had not delayed.” Magic Kitchen LLC v. Good Things Intern. Ltd., 153 Cal. App. 4th 1144,
 3   1161 (2007) (internal quotation and citation omitted). Nothing in the FAC, or even Obesity
 4   Research’s briefing, establishes that Obesity Research changed its position in a way that
 5   would not have occurred absent Shimizu or Fiber Research’s purported delay. Moreover,
 6   Obesity Research does not argue evidentiary prejudice, which “includes such things as lost,
 7   stale, or degraded evidence, or witnesses whose memories have faded or who have died.”
 8   Danjaq LLC v. Sony Corp., 263 F.3d 942, 955 (9th Cir. 2001) (citation omitted).
 9         In sum, “Defendant[] ask[s] the Court to make factual determinations concerning when
10   Plaintiff knew or should have known about the alleged infringement, Plaintiff’s diligence in
11   enforcing its rights, and the prejudice to Defendants caused by Plaintiff's alleged delay.” See
12   Sensible Foods, LLC v. World Gourmet, Inc., 2011 WL 5244716, at *5 (N.D. Cal. Nov. 3,
13   2011). “Accordingly, the . . . determination on the adequacy of Defendant[‘s] laches defense
14   . . . requires findings of fact and is inappropriate for resolution on a motion to dismiss,” id.;
15   see also Italia Marittima, 2010 WL 3504834, at *6 (“[w]ithout a showing that [plaintiff’s]
16   delay prejudiced [defendant], laches cannot bar [plaintiff’s] claims”); 24/7 Customer, Inc.,
17   2015 WL 1522236, at *4 (denying motion to dismiss on grounds of laches as “premature”);
18   Kourtis, 419 F.3d 9 at 1000; Mishewal Wappo Tribe, 2011 WL 5038356, at *7 (denying
19   motion to dismiss on grounds of laches because even where delay was apparent, the
20   allegations failed to show that delay was unreasonable or that defendant was prejudiced);
21   Teran v. Hagopian, 2008 WL 4826124, at *6 n.2 (E.D. Cal. Nov. 5, 2008) (denying motion
22   to dismiss on grounds of laches because it “raise[d] matters outside the pleadings, which
23   [could ]not be resolved at the motion to dismiss stage.”); In re Sand Hill Capital Partners III,
24   LLC, 2010 WL 4269622, at *3 (Bankr. N.D. Cal. Oct. 25, 2010) (denying motion to dismiss
25   on grounds of laches because “prejudice or injury to Defendants is a fact issue that cannot be
26   decided in the 12(b)(6) context”).
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        Obesity Research Inst., LLC v. Fiber Research Int’l, LLC, No. 15-cv-595-BAS-MDD
        OPPOSITION TO MOTION TO DISMISS FIRST AMENDED COUNTERCLAIMS
      Case 3:15-cv-00595-BAS-MDD Document 48 Filed 07/06/15 PageID.504 Page 35 of 36




 1         Finally, “the defense of laches is barred where defendants purposefully committed the
 2   infringing conduct.” DC Comics v. Towle, 989 F. Supp. 2d 948, 971 (C.D. Cal. 2013) (citing
 3   Evergreen Safety Council v. RSA Network, Inc., 697 F.3d 1221, 1228 (9th Cir.2012)). “This
 4   good-faith component of the laches doctrine is part of the fundamental principle that ‘he who
 5   comes into equity must come with clean hands.” Id. (quoting Danjaq LLC, 263 F.3d at 956).
 6   Here, Fiber Research has alleged that Obesity Research’s conduct was willful. (FAC ¶ 101.)
 7   Accepting this allegation as true, Obesity Research’s laches defense is barred. At minimum,
 8   whether Obesity Research’s conduct was willful is an issue of fact that cannot be decided at
 9   the motion to dismiss stage and Obesity Research’s motion on this ground should denied. See
10   Goldberg v. Cameron, 482 F. Supp. 2d 1136, 1152 (N.D. Cal. 2007) (denying motion to
11   dismiss on grounds of laches as “premature” where the court could not “resolve on the face
12   of the pleadings . . . whether defendants created, produced and distributed the Terminator
13   films ‘with knowledge that their ... conduct constituted copyright infringement.’”).
14                                         CONCLUSION
15         For the foregoing reasons, Fiber Research respectfully requests that the Court deny
16   Obesity Research’s motion in its entirety.
17   Dated: July 6, 2015             Respectfully submitted,
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        Obesity Research Inst., LLC v. Fiber Research Int’l, LLC, No. 15-cv-595-BAS-MDD
        OPPOSITION TO MOTION TO DISMISS FIRST AMENDED COUNTERCLAIMS
     Case 3:15-cv-00595-BAS-MDD Document 48 Filed 07/06/15 PageID.505 Page 36 of 36




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       OPPOSITION TO MOTION TO DISMISS FIRST AMENDED COUNTERCLAIMS
